                            Case 1:17-cv-13174-TLL-PTM ECF No. 19 filed 10/26/17       PageID.328   Page 1 of 9




                                              UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                                   NORTHERN DIVISION

                            RITA R. JOHNSON,
                                 Plaintiff,                                    Case No.: 17-cv-13174
                                                                            Honorable Thomas L. Ludington
                                  v.
                                                                                      MOTION
                            CITY OF SAGINAW and
                            WATER DEPARTMENT WORKER
                            NO. 1,
                                 Defendants
                                                                   /
OUTSIDE LEGAL COUNSEL PLC




                            OUTSIDE LEGAL COUNSEL PLC                      GREGORY W. MAIR (P67465)
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                            PHILIP L. ELLISON (P74117)                     O’NEILL, WALLACE & DOYLE, PC
                            Attorney for Plaintiff                         Attorney for Defendants
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                                                MOTION FOR RULE 11 SANCTIONS

                                  NOW COMES Plaintiff RITA R. JOHNSON, by and through counsel,

                            and moves for sanctions pursuant to Fed.R.Civ.P. 11(c) in regards to

                            Defendants’ improper Motion to Dismiss (ECF No. 7). The undersigned

                            conferenced with opposing counsel and concurrence was not granted. See

                            LR 7.1. A copy of the safe harbor letter required under Rule 11 and the proof

                            of service of this motion is on the last page of the brief.




                                                                       1
                            Case 1:17-cv-13174-TLL-PTM ECF No. 19 filed 10/26/17   PageID.329   Page 2 of 9




                                     CONCISE STATEMENT OF THE ISSUES PRESENTED

                            Did Defendants violate Rule 11 of the Federal Rules of Civil Procedure in
                            their Motion to Dismiss made pursuant to Rule 12(b)(6)?
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                                                                 2
                            Case 1:17-cv-13174-TLL-PTM ECF No. 19 filed 10/26/17   PageID.330   Page 3 of 9




                                    CONTROLLING OR MOST APPROPRIATE AUTHORITY

                            Fed.R.Civ.P. 11
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                                                                 3
                            Case 1:17-cv-13174-TLL-PTM ECF No. 19 filed 10/26/17   PageID.331   Page 4 of 9




                                                               BRIEF

                                  This case is about the depravation of water delivery by Defendants

                            CITY OF SAGINAW and WATER DEPARTMENT WORKER NO. 1 without

                            required due process. The case was originally filed in state court and has

                            been attempted to be removed to this Court. A motion to remand remains

                            pending. See ECF No. 3. With that motion pending, Defendants hurriedly

                            moved to dismiss the lawsuit in its entirety under Rule 12(b)(6). ECF No. 7.
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                            That motion made two intentional misstatements of law and fact which was
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                            the major premise of the motion, including:

                                        1.    Businesses have no due process rights which is directly

                                  contrary to decades of established judicial precedence, see Grosjean

                                  v American Press Co, Inc, 297 U.S. 233 (1936); South Macomb

                                  Disposal Auth’y v. Twp of Washington, 790 F.2d 500, 503 (CA 6, 1986).

                                        2.    That the Notice of Immediate Suspension of Business

                                  Activity included written notice and the opportunity to be heard about

                                  the Defendants’ actions in terminating water delivery to Plaintiff’s

                                  building, which is contrary to fact, see Exhibit A.

                            While an attorney can and should push the limits of law and client-desired

                            remedies in cases, even doing so zealously, it cannot blatantly lie about facts

                            and intentionally misstate the actual state of the law at the expense of the



                                                                  4
                            Case 1:17-cv-13174-TLL-PTM ECF No. 19 filed 10/26/17   PageID.332   Page 5 of 9




                            opposing party. Such violates the rules of professional conduct and the

                            obligations imposed by Rule 11 of the Federal Rules of Civil Procedure.

                                                     MEMORANDUM OF LAW

                                  By presenting a signed document to this Court, the signer makes

                            certain representations including 1.) the filing is not being presented for any

                            improper purpose, such as to harass, cause unnecessary delay, or

                            needlessly increase the cost of litigation; 2.) any legal contentions are
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                            warranted by existing law or by a nonfrivolous argument for extending,
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                            modifying, or reversing existing law or for establishing new law; and 3.) the

                            factual contentions have evidentiary support. Fed.R.Civ.P. 11(b)(1)-(3). “The

                            test for the imposition of Rule 11 sanctions is “whether the individual's

                            conduct was reasonable under the circumstances.” Union Planters Bank v.

                            L & J Dev. Co., 115 F.3d 378, 384 (CA 6, 1997). It is reviewed objectively.

                            Mann v. G & G Mfg., Inc., 900 F.2d 953, 959 (CA 6, 1990).

                                  An opposing party can make a motion for imposition of sanctions for

                            violations of the same and the Court must provide notice and a reasonable

                            opportunity to respond to the violators. Fed.R.Civ.P. 11(c)(1)-(2). Any

                            sanction selected “must be limited to what suffices to deter repetition of the

                            conduct or comparable conduct by others similarly situated.” Fed.R.Civ.P.

                            11(c)(4). A motion for sanctions must be made separately from any other



                                                                  5
                            Case 1:17-cv-13174-TLL-PTM ECF No. 19 filed 10/26/17       PageID.333   Page 6 of 9




                            motion and must describe the specific conduct that allegedly violates the

                            Court Rule. Fed.R.Civ.P. 11(c)(2). While wide discretion is given to this

                            Court, de minimis sanctions imposed for violations are simply inadequate to

                            deter Rule 11 violations. Victims of Rule 11 violations would have no

                            incentive to file a motion for sanctions if their reward for successfully litigating

                            the issue is only a tiny fraction of the amount of expenses incurred because

                            of the sanctionable conduct. Rentz v. Dynasty Apparel Indus., 556 F.3d 389,
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                            402 (CA 6, 2009).
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                                                              ARGUMENT

                                  With the issue of whether this case has been appropriately removed

                            this Court pending, Defendants decided not to answer the complaint and

                            instead filed a motion to dismiss under Rule 12(b)(6). In doing so, it must first

                            make some sort of determination that none of Plaintiff’s claims are plausible

                            in law or fact—the relevant standard. Bell Atlantic Corp. v. Twombly, 127 S.

                            Ct. 1955, 1965 (2007). By filing the motion instead of answering, discovery

                            is delayed because the Rule 26 conference does not occur. See

                            Fed.R.Civ.P.26(d)(1); Fed.R.Civ.P.26(f)(1).

                                  In their motion, Defendants make two wildly false assertions. First, it

                            argues that businesses and/or commercial operations do not enjoy due

                            process protections under the Fourteenth Amendment. This argument has



                                                                     6
                            Case 1:17-cv-13174-TLL-PTM ECF No. 19 filed 10/26/17   PageID.334   Page 7 of 9




                            been rejected since at least the 1930s. Grosjean v American Press Co, Inc,

                            297 U.S. 233 (1936). “A corporation is a ‘person’ within the meaning of the

                            equal protection and due process of law clauses...” Id., at 244. The Sixth

                            Circuit has confirmed the same. South Macomb Disposal Auth’y v. Twp of

                            Washington, 790 F.2d 500, 503 (CA 6, 1986). As such, these legal

                            contentions of Defendant are not warranted by existing law and they did not

                            offer any nonfrivolous argument for extending, modifying, or reversing
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                            existing law or for establishing new law. This violates Fed.R.Civ.P. 11(b)(2).
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                                  Second, Defendants claim that they did give written notice that the City

                            of Saginaw would be terminating water delivery services to Plaintiff’s

                            building, citing the Notice of Immediate Suspension of Business Activity.

                            ECF No. 7-4. In that Notice, the City immediately suspended the business

                            license of “RITA'S SOUTHERN SOUL CAFE.” Id. Yet, there is not even one

                            statement, sentence, word, or provision in that Notice indicating or even

                            implying the City was suspending or had suspended the delivery of potable

                            water provided by the City’s water department—it was only giving notice

                            about the suspending a business license and nothing more. This makes

                            Defendants’ factual contentions lacking evidentiary support in violation of

                            Fed.R.Civ.P. 11(b)(3).




                                                                  7
                            Case 1:17-cv-13174-TLL-PTM ECF No. 19 filed 10/26/17      PageID.335    Page 8 of 9




                                  Put together, the violations of Fed.R.Civ.P. 11(b)(2) and Fed.R.Civ.P.

                            11(b)(3) caused the violation of Fed.R.Civ.P. 11(b)(1) undertaking these

                            improper activities for an improper purpose: to cause unnecessary delay and

                            needlessly increase the cost of litigation by simply not filing an answer.

                                  As such, Defendants and their counsel have violated Fed.R.Civ.P.

                            11(b)(1), Fed.R.Civ.P. 11(b)(2), and Fed.R.Civ.P. 11(b)(3). A sanction is

                            required. Plaintiff requests this Court to direct Plaintiff’s counsel to submit the
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                            amount of time he had to spend on responding to the Rule 12(b)(6) motion
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                            and writing this motion and fashion a total payable to Plaintiff for attorney

                            time spent having to respond to false assertions of law and fact.

                                                         RELIEF REQUESTED

                                  WHEREFORE, Plaintiff RITA R. JOHNSON, by counsel, respectfully

                            requests this Court to issue a Rule 11 sanction against Defendants and their

                            counsel in amount determined by this Court to be appropriate thereunder.

                            Date: October 4, 2017                    RESPECTFULLY SUBMITTED:

                                                                     /s/ Philip L. Ellison
                                                                     OUTSIDE LEGAL COUNSEL PLC
                                                                     BY PHILIP L. ELLISON (P74117)
                                                                     PO Box 107 ∙ Hemlock, MI 48626
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                                                                     Attorney for Plaintiff




                                                                    8
                            Case 1:17-cv-13174-TLL-PTM ECF No. 19 filed 10/26/17   PageID.336   Page 9 of 9




                                                    CERTIFICATE OF SERVICE

                                  I, the undersigned attorney of record, hereby certify that on the date
                            stated below, I served a paper copy this motion to:

                                 GREGORY W. MAIR
                                 O’NEILL, WALLACE & DOYLE, PC
                                 300 St. Andrews Dr, Suite 302
                                 Saginaw, MI 48638

                            via US mail with postage prepaid and also provided an electroni courtesy
                            copy via email to his known business email address.
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                            Date: October 4, 2017                 RESPECTFULLY SUBMITTED:
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                                                                  /s/ Philip L. Ellison
                                                                  OUTSIDE LEGAL COUNSEL PLC
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                                                                 9
